        Case 2:24-cv-02581-GRB-JMW                   Document 24          Filed 10/21/24       Page 1 of 2 PageID #:
                                                           130
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                   Eastern District of New York

        JAMES E. SHELTON, individually and on                    )
          behalf of all others similarly situated,               )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 2:24-cv-02581-(GRB)(JMW)
                                                                 )
               PRIORITY CONCEPTS INC.                            )
                        AND
                                                                 )
                    SHOPPUN INC.
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMOS I A CIVIL ACTIO

To: (Defendant’s name and address) SHOPPUN INC.
                                       181 E TASMAN DR STE 20 # 109
                                       SAN JOSE, CA 95134




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Andrew Roman Perrong, Esq.
                                       Perrong Law LLC
                                       2657 Mount Carmel Avenue
                                       Glenside, Pennsylvania 19038
                                       Phone: 215-225-5529
                                       a@perronglaw.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

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                                                                           CLERK OF COURT

            10/21/2024
Date:
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                                                                                      Si gnnat
                                                                                            ature of Clerk or Deputy Cle
                                                                                                                     Clerk
         Case 2:24-cv-02581-GRB-JMW                        Document 24         Filed 10/21/24           Page 2 of 2 PageID #:
                                                                 131
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:24-cv-02581-(GRB)(JMW)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):




           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
